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Plaintiff
vs.
cR. No. 05-20182-[)
ANTHONY TuRLEY
Defendant.

 

ORDER ON CONTiNUANCE AND SPEC|FY|NG PER!OD OF EXCLUDABLE DELAV
AND SETT|NG

 

This cause came on for a report date on August 25, 2005. At that time, counsel for
the defendant requested a continuance of the September 6, 2005 trial date in order to
allow for additional preparation in the case.

The Court granted the request and reset the trial date to November 7, 2005 with a

report date of Tl'\ursda§(l October 27, 2005l at 9:00 a.m., in Courtroom 3. 9th Floor of

the Federal Bui|ding, Memphis, TN.

 

The period from September 16, 2005 through November 18, 2005 is excludable
under 18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for
additional time to prepare outweigh the need for a speedy trial.

lT |S 80 ORDERED this gag day of September, 2005.

  

  

N|CE B. NALD
|TED STATES D|STR|CT JUDGE

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
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Honorable Berniee Donald
US DISTRICT COURT

